Case 1:18-cv-01316-RGA Document 12 Filed 11/20/19 Page 1 of 3 PagelD #: 64

Edward Thomas Kennedy
800 Court Street, # 223
Reading, Pa [19601]

 

Leonard Philip Stark, Chief Judge

United States District Court for the District of Delaware.
844 N King St.

Wilmington, DE 19801

Dear President Judge Stark:

RE: Notice of All Rights Reserved Without Prejudice Nunc Pro Tunc
Pursuant to UCC 1-308 concerning Expungement and the following cases:

18-cv-1270
18-cv-1316
18-cv-893

19-cv-1311
19-cv-1311

| am writing to request the expungement of all records on said cases filed in your
court in my name and request to please notice the following facts:

| am one of the people of Pennsylvania, and | reserved and now reserve all rights
without prejudice nunc pro tunc, pursuant to UCC 1-308.

My Pennsylvania Certification of Birth with the name Edward Thomas Kennedy
was filed on November 3, 1953, Pennsylvania State File Number: XXXXX6-1953, and
filed in the Conimonwealth.of Pennsylvania, Department of Health, Vital Records, is
prima facie evidence that | am the. beneficiary of the trust. Pennsylvania BAR members
are not the beneficiaries of said trust but are Trustees.

| reserve my right not to be compelled to perform under any contract, commercial
agreement or bankruptcy that he did not enter knowingly, voluntarily, and intentionally. |
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do\ ‘not? and. will not accept the liability of the compelled benefit of any unrevealed

contract or commercial agreement or bankruptcy.

YOUR COURT made a judicial determinations that UCC 1-308 (old 1-207) and
UCC 1-103 of the Uniform Commercial Code are not valid law.

UCC 1-103.6, says: The Code is complementary to the Common Law, which
remains in force, except where displaced by the code. A statute should be construed in
harmony with the Common Law unless there is a clear legislative intent to abrogate the
Common Law. The UCC Code recognizes the Common Law, which was written so as
not to abolish the Common Law entirely. The UCC Code cannot be read to preclude a
Common Law action.

Please reply in writing on honor my request by November 27, 2019.Thank you
for your assumed cooperation in advance.

If you have any questions, please contact me at phone:
(415) - 275-1244 or at the following email addresses:
pillar.of.peace.2012@gmail.com
kennedy2018@alumni.nd.edu
etk5112@psu.edu
and pillar.of.peace.2017@protonmail.com.

God Bless America. | pray ERIE RAILROAD CO. v . TOMPKINS will be overturned in
our lifetime or in divine right time."

Date: November 15, 2019.

All rights reserved without prejudice pursuant to 1-308

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Edward Thomas Kennedy

 

 

1 Erie R. Co. v. Tompkins, 304 U.S. 64 (1938)
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Edward Thomas Kennedy
800 Court St., Apt. 223
Reading, PA 19601

 

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